     Case 3:21-cv-02143-W-WVG Document 14 Filed 06/02/22 PageID.123 Page 1 of 9



 1
 2
 3
 4
 5
 6
 7
 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11   STEVEN DALTON; and TINA PIZZO,                      Case No.: 21-CV-2143-W-WVG
12                                     Plaintiffs,
                                                         NOTICE AND ORDER FOR
13   v.                                                  (1) EARLY NEUTRAL
                                                         EVALUATION CONFERENCE,
14   COUNTY OF SAN DIEGO; and DOES 1
                                                         (2) CASE MANAGEMENT
     through 5, inclusive,
15                                                       CONFERENCE, AND
                                    Defendants.          (3) TELEPHONIC STATUS
16
                                                         CONFERENCE
17
18
19         IT IS HEREBY ORDERED that an Early Neutral Evaluation (“ENE”) of your case
20   and Case Management Conference (“CMC”) will be held on July 25, 2022, at 9:00 a.m.,
21   before United States Magistrate Judge William V. Gallo. These conferences will be held
22   via Zoom videoconference as set forth in Appendix A.
23         Additionally, on July 12, 2022, beginning at 2:00 p.m., the Court will hold an
24   attorneys-only telephonic status conference with each party separately.1 The purpose of
25
26
     1
27    The Court will contact the first party and proceed to contact the remaining parties one at
     a time. Each call may be short or lengthy. Counsel are required to be available for the
28   Court’s call beginning at the appointed time and remain available until they are called. If

                                                     1
                                                                               21-CV-2143-W-WVG
     Case 3:21-cv-02143-W-WVG Document 14 Filed 06/02/22 PageID.124 Page 2 of 9



 1   this confidential, off-the-record teleconference is for the Court’s benefit in assessing each
 2   party’s concerns, challenges, and whether the Court can assist in alleviating these. On or
 3   before July 6, 2022, each attorney intending to participate shall lodge, via electronic mail
 4   addressed to efile_Gallo@casd.uscourts.gov, (1) the name of each attorney who will
 5   participate and (2) a telephone number at which each attorney may be reached directly
 6   without fail at the time of the conference.
 7      I.        EARLY NEUTRAL EVALUATION CONFERENCE
 8           The following are mandatory guidelines for the parties preparing for the ENE
 9   Conference.
10           1.    Purpose of Conference
11           The purpose of the ENE is to permit an informal discussion between the attorneys,
12   parties and the settlement judge of every aspect of the lawsuit in an effort to achieve an
13   early resolution of the case. All conference discussions will be informal, off the record,
14   privileged and confidential. Counsel for non-English speaking parties is responsible for
15   arranging for the appearance of an interpreter at the conference.
16           2.    Personal Participation of Parties Required
17           All parties, adjusters for insured defendants, and other representatives of a party
18   having full and complete authority to enter into a binding settlement, and the principal
19   attorneys responsible for the litigation, must participate in the ENE and be legally and
20   factually prepared to discuss settlement of the case. See S.D. Cal. Civ. L. R. 16.1(c). Given
21   the current ongoing COVID-19 pandemic and related travel and health concerns, the ENE
22   and CMC will be held via Zoom videoconference, the procedures for which are set forth
23   in Appendix A to this Order.
24
25
26
27   counsel has not received a call from chambers after 20 minutes, counsel is directed to call
     chambers at (619) 557-6384. If multiple counsel will appear for a party, all counsel shall
28   call jointly.

                                                   2
                                                                                 21-CV-2143-W-WVG
     Case 3:21-cv-02143-W-WVG Document 14 Filed 06/02/22 PageID.125 Page 3 of 9



 1         3.     Full Settlement Authority Required
 2         In addition to counsel who will try the case, a party or party representative with full
 3   settlement authority2 must participate in the conference. In the case of a corporate entity,
 4   an authorized representative of the corporation who is not retained outside counsel must
 5   participate and must have discretionary authority to commit the company to pay an amount
 6   up to the amount of the plaintiff’s prayer (excluding punitive damage prayers). The
 7   purpose of this requirement is to have representatives present who can settle the case during
 8   the course of the conference without consulting a superior.
 9         Counsel for a government entity may be excused from this requirement so long as
10   the government attorney who attends the ENE conference (1) has primary responsibility
11   for handling the case; and (2) may negotiate settlement offers which the attorney is willing
12   to recommend to the government official who has ultimate settlement authority.
13         4.     Settlement Proposal and Response Required
14         No later than June 24, 2022, Plaintiff shall submit to Defendant(s) a written
15   settlement proposal. No later than July 1, 2022, Defendant(s) shall submit a response to
16   Plaintiff’s settlement proposal. All parties shall be prepared to address in their ENE
17   Statements, and discuss at the ENE conference, the settlement proposal and response.
18         5.     ENE Statements Required
19         In accordance with the Court’s Chambers Rules, each party shall exchange its
20
21
     2
       “Full authority to settle” means that the individuals at the settlement conference must be
22   authorized to fully explore settlement options and to agree at that time to any settlement
23   terms acceptable to the parties. Heileman Brewing Co., Inc. v. Joseph Oat Corp., 871 F.2d
     648 (7th Cir. 1989). The person needs to have “unfettered discretion and authority” to
24   change the settlement position of a party. Pitman v. Brinker Intl., Inc., 216 F.R.D. 481,
25   485-86 (D. Ariz. 2003). The purpose of requiring a person with unlimited settlement
     authority to attend the conference includes that the person’s view of the case may be altered
26   during the face to face conference. Id. at 486. A limited or a sum certain of authority is
27   not adequate. The person with full settlement authority must be able to negotiate a
     settlement without being restricted by any predetermined level of authority. Nick v.
28   Morgan’s Foods, Inc., 270 F.3d 590 (8th Cir. 2001).

                                                   3
                                                                                 21-CV-2143-W-WVG
     Case 3:21-cv-02143-W-WVG Document 14 Filed 06/02/22 PageID.126 Page 4 of 9



 1   settlement Statement with all opposing parties. Additionally, in accordance with the
 2   Court’s Chambers Rules, each party shall submit a confidential or non-confidential
 3   Statement to the Court. Both the exchange of Statements between the parties and
 4   submissions of Statements to the Court shall occur on or before July 6, 2022. The
 5   Statement each party submits directly to the chambers shall be five pages or less and shall
 6   outline the nature of the case, the claims, the defenses, and the parties’ positions regarding
 7   settlement of, and attempts to settle the case. All Statements must comply with the
 8   Court’s Chambers Rules.
 9         The parties shall meet and confer in good faith prior to the ENE Conference, and
10   verify that they have done so in their respective ENE Conference statements, outlining the
11   substance of their discussions and negotiations.
12         6.     Time Allotted
13         The Court generally allots two hours for ENEs. Counsel should be prepared to be
14   succinct and to the point. Requests for additional time must be made in writing in the
15   party’s ENE statement, accompanied by a short explanation.
16         7.     New Parties Must Be Notified by Plaintiff’s Counsel
17         Plaintiff’s counsel shall give notice of the ENE Conference to all parties responding
18   to the Complaint after the date of this Notice.
19         8.     Requests to Continue an ENE Conference
20         Civil Local Rule 16.1(c) requires that an ENE take place within 45 days of the filing
21   of the first answer. Requests to continue ENE conferences are rarely granted. Counsel
22   seeking to reschedule an ENE must first confer with opposing counsel. The Court will
23   consider formal, written ex parte requests to continue an ENE conference when
24   extraordinary circumstances exist that make a continuance appropriate. Absent
25   extraordinary circumstances, requests for continuances of the ENE conference will
26   not be considered unless submitted in writing no less than seven calendar days prior
27   to the scheduled conference, and only after conferring with opposing counsel.
28

                                                   4
                                                                                  21-CV-2143-W-WVG
     Case 3:21-cv-02143-W-WVG Document 14 Filed 06/02/22 PageID.127 Page 5 of 9



 1             Please refer to the undersigned’s Chambers Rules for additional guidance regarding
 2   the areas which must be addressed in the request.
 3             The parties shall be prepared to engage in good faith settlement discussions with the
 4   Court and opposing parties during the ENE Conference. Failure to engage in good faith
 5   settlement discussions may result in the imposition of sanctions.
 6       II.      CASE MANAGEMENT CONFERENCE
 7             If the case does not settle at the ENE, the parties shall be prepared for a Case
 8   Management Conference immediately upon completion of the ENE. Accordingly, the
 9   Court issues the following orders:
10             1. The Rule 26(f) conference shall be completed before June 17, 2022;
11             2. The date of initial disclosure pursuant to Rule 26(a)(1)(A)-(D) shall occur before
12                June 24, 2022; and
13             3. A joint discovery plan shall be lodged with Magistrate Judge Gallo on or before
14                July 6, 2022.3
15             Questions regarding this case may be directed to the undersigned’s Research
16   Attorney at (619) 557-6384. Please consult the undersigned’s Chambers Rules, which are
17   available on the Court’s website, before contacting chambers with any questions.
18                   IT IS SO ORDERED.
19   DATED: June 2, 2022
20
21
22
23
24
25
26
27   3
       Counsel shall review the undersigned’s Chambers Rules for guidance on completing the
     proposed discovery plan. Counsel are further advised to consult the Chambers Rules of
28   the District Judge assigned to this case for case timeline preferences, if any.

                                                     5
                                                                                   21-CV-2143-W-WVG
     Case 3:21-cv-02143-W-WVG Document 14 Filed 06/02/22 PageID.128 Page 6 of 9



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                            6
                                                                      21-CV-2143-W-WVG
     Case 3:21-cv-02143-W-WVG Document 14 Filed 06/02/22 PageID.129 Page 7 of 9



 1                      Appendix A – Zoom Videoconference Procedures
 2         1.     The Court will use its official Zoom video conferencing account to hold the
 3   ENE. The Zoom software is available for download on the Zoom website
 4   (https://zoom.us/meetings) or on mobile devices through the installation of a free app.4
 5   Joining a Zoom conference does not require creating a Zoom account, but it does require
 6   downloading the .exe file (if using a computer) or the app (if using a mobile device).
 7   Participants are encouraged to create an account, install Zoom and familiarize themselves
 8   with Zoom in advance of the ENE.5 There is a cost-free option for creating a Zoom account.
 9         2.     Prior to the start of the ENE, the Court will e-mail counsel the meeting login
10   information required to join the Zoom video conference. Participants can join the video
11   conference by following the ZoomGov Meeting hyperlink provided to counsel or by
12   entering the meeting ID and password. Again, if possible, participants are encouraged to
13   use laptops or desktop computers with a camera for the video conference, as mobile devices
14   often offer inferior performance. Participants who do not have Zoom already installed
15   on their device when they click on the ZoomGov Meeting hyperlink will be prompted
16   to download and install Zoom before proceeding. Zoom may then prompt participants
17   to enter the password included in the invitation. All participants will be placed in a waiting
18   room until the ENE begins.
19         3.     Each participant should plan to join the Zoom video conference at least five
20   minutes before the start of the ENE to ensure that the ENE begins promptly at 9:00 a.m.
21         4.     Zoom’s functionalities will allow the Court to conduct the ENE as it ordinarily
22   would conduct an in-person ENE. That is, the Court will begin the ENE with all
23   participants joined together in a main session. After an initial discussion in the main
24
25
     4
           If possible, participants are encouraged to use laptops or desktop computers for the
26   video conference, as mobile devices often offer inferior performance.
27
     5
            For help getting started with Zoom, visit: https://support.zoom.us/hc/en-
28   us/categories/200101697-Getting-Started

                                                   7
                                                                                  21-CV-2143-W-WVG
     Case 3:21-cv-02143-W-WVG Document 14 Filed 06/02/22 PageID.130 Page 8 of 9



 1   session, the Court will divide participants into separate, confidential sessions, which Zoom
 2   calls “Breakout Rooms.”6 In a Breakout Room, the Court will be able to communicate with
 3   participants from a single party in confidence. Breakout Rooms will also allow parties and
 4   counsel to communicate confidentially without the Court.
 5         5.     No later than July 6, 2022, counsel for each party shall send an e-mail to the
 6   Court at efile_Gallo@casd.uscourts.gov containing the following:
 7                a.     The name and title of each participant, including all parties and party
 8         representatives with full settlement authority, claims adjusters for insured
 9         defendants, and the primary attorney(s) responsible for the litigation;
10                b.     An e-mail address for each participant. This email address should be
11         the same address the participant has used to create his or her Zoom account; and
12                c.     A telephone number where each participant may be reached so that
13         if technical difficulties arise, the Court will be in a position to proceed telephonically
14         instead of by video conference. (If counsel prefers to have all participants of their
15         party on a single conference call, counsel may provide a conference number and
16         appropriate call-in information, including an access code, where all counsel and
17         parties or party representatives for that side may be reached as an alternative to
18         providing individual telephone numbers for each participant.)
19         6.     All participants shall display the same level of professionalism during the
20   ENE and be prepared to devote their full attention to the ENE as if they were attending in
21
22
     6
23          For more information on what to expect when participating in a Zoom Breakout
     Room, visit: https://support.zoom.us/hc/en-us/articles/115005769646. In short, the Court
24   will manually place each participant in their respective Breakout Room. When the Court
25   does this, on the participants device, the participant will see a notification regarding joining
     the Breakout Room. The participant should select the option to join the room. If the Court
26   then wishes to close the Breakout Rooms and converse with all parties and counsel, the
27   participant should choose the option that will appear on his or her device to leave the
     Breakout Room—this will send the participant to the group room; it will not expel the
28   participant from the conference.

                                                    8
                                                                                   21-CV-2143-W-WVG
     Case 3:21-cv-02143-W-WVG Document 14 Filed 06/02/22 PageID.131 Page 9 of 9



 1   person. Because Zoom may quickly deplete the battery of a participant’s device, each
 2   participant should ensure that their device is plugged in or that a charging cable is readily
 3   available during the video conference. Participants should also participate in the conference
 4   in a location that allows for privacy and which does not contain background noise such as
 5   dogs barking, children, or other noise that will disrupt the conference.
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   9
                                                                                 21-CV-2143-W-WVG
